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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

__________________________________________
                                          )
DON’T SHOOT PORTLAND, et al.,             )
                                          )
                            Plaintiffs,   )
v.                                        )                   Case No. 1:20-cv-2040-CRC
                                          )
CHAD F. WOLF, in his official capacity    )
as Acting Secretary of Homeland Security, )
et al.,                                   )
                                          )
                            Defendants.   )
__________________________________________)


              UNOPPOSED MOTION FOR LEAVE TO FILE AMICUS BRIEF

        Pursuant to Local Civil Rule 7(o), proposed amici curiae, current and former elected

prosecutors, Attorneys General and law enforcement leaders, as well as former United States

Attorneys and Department of Justice Officials, request the Court grant amici leave to file a brief

in this action.

        This Court has “broad discretion” to allow participation by an amicus, District of

Columbia v. Potomac Elec. Power Co., 826 F. Supp. 2d 227, 237 (D.D.C. 2011), and regularly

allows the submission of briefs by amici who have “a special interest in th[e] litigation as well as

a familiarity and knowledge of the issues raised therein that could aid in the resolution of th[e]

case.” Ellsworth Assocs., Inc. v. United States, 917 F. Supp. 841, 846 (D.D.C. 1996); see also

Potomac Elec. Power, 826 F. Supp. 2d at 237 (granting leave to file amicus brief where amicus

had “relevant expertise and a stated concern for the issues at stake in th[e] case” and where the

Court “f[ound] that it may benefit from their input”).



                                                 1
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        “The filing of an amicus brief should be permitted if it will assist the judge ‘by presenting

ideas, arguments, theories, insights, facts or data that are not to be found in the parties’ briefs.’”

Comm. of the N. Mariana Islands v. United States, No. CIVA 08-1572 PLF, 2009 WL 596986, at

*1 (D.D.C. Mar. 6, 2009) (quoting Voices for Choices v. Ill. Bell Tel. Co., 339 F.3d 542, 545 (7th

Cir. 2003)). “Amicus participation is normally appropriate when . . . ‘the amicus has an interest

in some other case that may be affected by the decision in the present case[.]’” Hard Drive

Prods., Inc. v. Does 1-1,495,892 F. Supp. 2d 334, 337 (D.D.C. 2012) (quoting Jin v. Ministry of

State Sec., 557 F. Supp. 2d131, 137 (D.D.C. 2008)). 1

        The proposed amici are criminal justice leaders who have extensive expertise in law

enforcement, prosecution, and cooperative federal-state law enforcement activities. They are

intimately familiar with the challenges of performing law enforcement and governance functions

in communities where citizens harbor a deep distrust of the police and are vulnerable to

exploitation and crime.

        Proposed amici submit this brief to detail their concerns about how the actions of federal

law enforcement in Portland, Oregon – as well as similar deployment or threatened federal

engagement in other urban areas in the country – undermine vital law enforcement objectives.

The deeply concerning and violent actions of federal agents against peaceful protesters have

damaged already-fragile bonds of trust with law enforcement, bonds that are critical to the ability

of local officials such as amici to prosecute crime, incorporate community feedback and

concerns into criminal justice policy, and promote public safety.




1
 Counsel for both parties have consented to the filing of this brief. No counsel for a party
authored this brief in whole or in part, and no party or counsel for a party made a monetary
contribution intended to fund the preparation or submission of this brief. No person other than
amici curiae made a monetary contribution supporting this brief’s preparation or submission.
                                                   2
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        The proposed amici have come together to bring our voices, and our collective decades of

experience in the criminal justice arena, to this vital issue.

        A full list of amici is attached to the brief as Exhibit A.

        For the foregoing reasons, amici respectfully request that the Court grant leave to file the

enclosed amicus brief in support of the Plaintiffs, Don’t Shoot Portland, et al.

Dated: October 29, 2020                                 Respectfully submitted,

                                                        /s/ Loren Kieve

                                                        Loren Kieve (D.C. Bar No. 196436)

                                                        KIEVE LAW OFFICES

                                                        2655 Steiner Street
                                                        San Francisco, California 94115
                                                        (415) 364-0060
                                                        lk@kievelaw.com

                                                        Counsel for Proposed Amici Curiae




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                                             List of Amici

Chiraag Bains
Former Trial Attorney, Criminal Section, Civil Rights Division, U.S. Department of Justice
Former Senior Counsel to the Assistant Attorney General, Civil Rights Division, U.S. Department of
Justice

Paul Bardacke
Former Attorney General, New Mexico

Diana Becton
District Attorney, Contra Costa County, California

Wesley Bell
Prosecuting Attorney, St. Louis County, Missouri

Buta Biberaj
Commonwealth’s Attorney, Loudoun County, Virginia

Sherry Boston
District Attorney, DeKalb County, Georgia

Chesa Boudin
District Attorney, City and County of San Francisco, California

Joseph Brann
Former Chief, Hayward Police Department, California
Former Director, Office of Community Oriented Policing Services, U.S. Department of Justice

Aisha Braveboy
State’s Attorney, Prince George’s County, Maryland

Kenyen Brown
Former U.S. Attorney, Southern District of Alabama

Jim Bueermann
Former Chief, Redlands Police Department, California

John Choi
County Attorney, Ramsey County, Minnesota

Jerry L. Clayton
Sheriff, Washtenaw County, Michigan

Dave Clegg
District Attorney, Ulster County, New York
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Shameca Collins
District Attorney, 6th Judicial District, Mississippi

Scott Colom
District Attorney, 16th Judicial District, Mississippi

Brendan Cox
Former Chief, Albany Police Department, New York
Director of Policing Strategies, LEAD National Support Bureau

John Creuzot
District Attorney, Dallas County, Texas

Ronald L. Davis
Former Director, Office of Community Oriented Policing Services, U.S. Department of Justice
Former Chief, East Palo Alto Police Department, California
Former Chief, Oakland Police Department, California

Satana Deberry
District Attorney, Durham County, North Carolina

Parisa Dehghani-Tafti
Commonwealth’s Attorney, Arlington County and the City of Falls Church, Virginia

Brandon del Pozo
Former Chief, Burlington Police Department, Vermont

Drew Diamond
Former Chief, Tulsa Police Department, Oklahoma

Thomas J. Donovan, Jr.
Attorney General, Vermont

Michael Dougherty
District Attorney, 20th Judicial District, Colorado

Mark Dupree
District Attorney, Wyandotte County, Kansas

Keith Ellison
Attorney General, Minnesota

Robert W. Ferguson
Attorney General, Washington

Kimberly M. Foxx
State’s Attorney, Cook County, Illinois
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Brian E. Frosh
Attorney General, Maryland

Douglas Gansler
Former Attorney General, Maryland
Former State’s Attorney, Montgomery County, Maryland

Gil Garcetti
Former District Attorney, Los Angeles County, California

Kimberly Gardner
Circuit Attorney, City of St. Louis, Missouri

Sarah F. George
State’s Attorney, Chittenden County, Vermont

Joe Gonzales
District Attorney, Bexar County, Texas

Eric Gonzalez
District Attorney, Kings County, New York

Mark Gonzalez
District Attorney, Nueces County, Texas

Andrea Harrington
District Attorney, Berkshire County, Massachusetts

Scott Harshbarger
Former Attorney General, Massachusetts

Jim Hingeley
Commonwealth’s Attorney, Albemarle County, Virginia

John Hummel
District Attorney, Deschutes County, Oregon

Susan Hutson
Former Chief Prosecutor, City of Corpus Christi, Texas
President, National Association for Civilian Oversight of Law Enforcement

Natasha Irving
District Attorney, 6th Prosecutorial District, Maine

Michael Jackson
District Attorney, Dallas County, Alabama
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Kathleen Jennings
Attorney General, Delaware

Justin F. Kollar
Prosecuting Attorney, Kauai County, Hawaii

Lawrence S. Krasner
District Attorney, Philadelphia, Pennsylvania

Miriam Aroni Krinsky
Former Assistant U.S. Attorney, Criminal Appellate Chief, and General Crimes Chief, Central
District of California
Former Chair, Solicitor General’s Criminal Appellate Advisory Group

William Lansdowne
Former Chief, San Diego Police Department, California
Former Chief, San Jose Police Department, California
Former Chief, Richmond Police Department, California

Patricia Madrid
Former Attorney General, New Mexico

Garry McFadden
Sheriff, Mecklenburg County, North Carolina

Brian Middleton
District Attorney, Fort Bend County, Texas

Stephanie Morales
Commonwealth’s Attorney, Portsmouth, Virginia

Marilyn J. Mosby
State’s Attorney, Baltimore City, Maryland

Jerome O’Neill
Former Acting U.S. Attorney, District of Vermont

Jody Owens
District Attorney, Hinds County, Mississippi

Jim Petro
Former Attorney General, Ohio

Channing Phillips
Former U.S. Attorney, District of Columbia
Former Counsel to the Attorney General, U.S. Department of Justice
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Bryan Porter
Commonwealth’s Attorney, City of Alexandria, Virginia

Abdul Pridgen
Chief, Seaside Police Department, California

Karl A. Racine
Attorney General, District of Columbia

Kwame Raoul
Attorney General, Illinois

Ira Reiner
Former District Attorney, Los Angeles County, California
Former City Attorney, Los Angeles, California

Rachael Rollins
District Attorney, Suffolk County, Massachusetts

Ellen Rosenblum
Attorney General, Oregon

Stephen Rosenthal
Former Attorney General, Virginia

Marian T. Ryan
District Attorney, Middlesex County, Massachusetts

Dan Satterberg
Prosecuting Attorney, King County, Washington

Mike Schmidt
District Attorney, Multnomah County, Oregon

Ronal Serpas
Former Superintendent, New Orleans Police Department, Louisiana
Former Chief, Metropolitan Nashville Police Department, Tennessee
Former Chief, Washington State Patrol

Daniella Shorter
District Attorney, 22nd Judicial District, Mississippi

Carol A. Siemon
Prosecuting Attorney, Ingham County, Michigan

Norm Stamper
Former Chief, Seattle Police Department, Washington
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David E. Sullivan
District Attorney, Northwestern District, Massachusetts

Shannon Taylor
Commonwealth’s Attorney, Henrico County, Virginia

Raúl Torrez
District Attorney, Bernalillo County, New Mexico

Gregory Underwood
Commonwealth’s Attorney, City of Norfolk, Virginia

Matthew Van Houten
District Attorney, Tompkins County, New York

Andrew Warren
District Attorney, 13th Judicial Circuit, Florida

Lynneice Washington
District Attorney, Jefferson County, Bessemer Division, Alabama
